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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


LAMAR EDWARD BARNES,

      Petitioner,

v.                                                            Civil Action No.          3:11CV551


RANDALL MATHENA,

      Respondent.

                                       MEMORANDUM OPINION


      Lamar      Edward     Barnes,        a    Virginia       state     prisoner       proceeding

pro   se,    brings        this        petition       pursuant      to    28    U.S.C.     §     2254

(%x§ 2254    Petition") .              Respondent       has    moved     to    dismiss     on     the

ground      that     the     one-year           statute       of    limitations          governing

federal habeas petitions                 bars     the    § 2254     Petition.          Barnes     has

responded.         The matter is ripe for disposition.


                                  I.     PROCEDURAL HISTORY


      A     jury    sitting        in     the     Circuit       Court     for     the     City     of

Portsmouth,         Virginia           ("Circuit        Court")     convicted           Barnes     of

first-degree        murder,        use     of     a    firearm      in   the     commission        of

murder,     malicious       wounding,           and     use    of   a    firearm    during        the

commission of malicious                 wounding.         The Circuit          Court     sentenced

Barnes      to   life      in     prison        plus    twenty-eight           years.       Barnes

appealed his convictions.
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    At     this    juncture,     it     is     appropriate     to    summarize     the

evidence   of     Barnes's     guilt.         The   Court    of     Appeals   of   the

Virginia aptly recited this evidence as follows:

            On a   late   afternoon,         Mike Artis     and Lamar   Edward
     Barnes arrived at Mark King's residence for a visit.
     King was in the residence with his girlfriend Amy
     McCrae,   Adam    Gregory,   and  Chris  Hopkins.   King
     testified    he   watched   television  while   Gregory,
     Hopkins, Artis, and Barnes were in a back room playing
     video games.    He testified that he had known all four
     of the male visitors approximately one and a half to
     two years and that he knew Barnes only by the name
     "JoJo."
          Gregory and Hopkins testified that Artis, whom
     they had previously known, arrived at King's residence
     with a person they had not previously met.         They
     identified  Barnes   in   court  as   the   person  who
     accompanied Artis, and Hopkins testified that Barnes
     was introduced to him as "JoJo."    Gregory and Hopkins
     also testified they went into the back room with Artis
     and Barnes and, for fifteen to twenty minutes, played
     video games and smoked marijuana.
          King later entered the back room, threw a large
     wad of cash onto a table, and said, "Don't you wish
     y'all could roll like this?"     He then picked up the
     cash and exited the     room,  leaving the   four male
     visitors to continue playing video games.      Five to
     fifteen minutes   after King exited the back room,
     Barnes walked to the living room where King was
     sitting.    King testified Barnes said, "Mark, check
     this out."   When King turned to Barnes, he saw Barnes
     pointing a gun at his head.    Barnes then shot him in
     the head.   King did not remember the gun being fired
     and testified he still has the "bullet lodged in [his]
     brain."
          In the back room, Hopkins heard "two loud pops"
     in quick succession, but he did not recognize the
     sounds as gunfire and continued playing a video game.
     Gregory testified he recognized the sounds as                    gunshots
     and ran from the room with Artis following                         closely
     behind him.   Gregory saw McCrae kneeling in                     front of
     the kitchen door and Barnes standing over                         her.  He
     testified that Barnes put     a gun to   the                     back of
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       McCrae's       head     and      said,       "Don't     run    from      me,     bitch."
       Barnes then shot           her in the head.
            Gregory testified he retreated into the back
       room, locked the door, and yelled to Hopkins, "Get out
       of the house, get out of the house."  As Gregory broke
       a window pane and attempted to exit the house with
       Hopkins, Artis broke through the door.    Artis pushed
       Hopkins into Gregory and began punching and stabbing
       them.
            A handyman, who had been erecting a fence in the
       backyard, heard the gunshots and breaking glass. He
       ran into the residence, saw McCrae on the floor, and
       noticed a      man    outside          the   front     door.       He    then went      to
       the back room and pulled Artis away from Hopkins. The
       handyman gave chase as Artis fled but was unable to
       catch him.
            When police and rescue personnel arrived, they
       transported McCrae to the hospital.  McCrae's baby was
       delivered by cesarean section.    The baby lived, but
       McCrae    died.


Barnes    v.   Commonwealth,            No.    2743-03-1,       2005 WL          1080105,     at    *l-2

(Va.     Ct.   App.     May       10,      2005)      (alteration          in    original) .          In

concluding that          any      improper evidence             about          McCrae's      pregnancy

was harmless, the Court of Appeals of Virginia further stated:

            We acknowledge                 that the issue of identity was
       contested at trial.                 Artis testified that another man,
       not Barnes, was the                 person who shot McCrae.   In view
       of Artis's testimony                 that Barnes, his cousin, was not
       the man who accompanied him to King's residence, the
       jury had to make a credibility determination.      The
       jury heard Artis testify, however, that he had entered
       into a plea agreement with the Commonwealth and had
       identified Barnes as the person who shot McCrae.
       During the plea agreement process, he admitted Barnes
       held the gun over McCrae while saying, "Where is the
       stash?  Where is the stash?"   He also admitted saying
       that    Barnes    showed him a               "wad of    cash"      and    that      Barnes
       indicated he had taken the money from King.        He
       further admitted saying Barnes displayed the same gun
       two days after the killing and told him to identify
       another     man       as      the      perpetrator.           In    view       of     this
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      substantial        impeachment       of       Artis's       testimony,     we     do
      not believe that the record remotely establishes that
      [McRae's] mother's testimony about the baby shower and
      her trip to the hospital had the effect of prejudicing
      the jury into believing that Barnes, and not some
      other person, committed the crimes.
           The positive evidence of Barnes's identity was
      overwhelming.   King had known Barnes for almost two
      years, and he identified Barnes as the person who
       entered     the    residence    with         Artis     and   shot    him.        In
      addition to King's identification, Gregory and Hopkins
      readily identified Barnes at the trial.   While Gregory
      and   Hopkins   could  not   identify   Barnes   in   a
      photographic lineup prior to trial, the jury heard
       evidence    that     Barnes   had    been      in    the    residence     for    at
      least twenty minutes prior to the murder.      During that
      time,  Barnes was      in the presence of Gregory and
      Hopkins and was playing video games in a room with
      them.     In   view of this     overwhelming evidence of
      identity,    we cannot say the testimony by McCrae's
      mother    [about   her   daughter's   pregnancy]   was  so
      impressive in this case as to prejudice the jury and
      to cause the jury to mistakenly believe Barnes was the
       criminal.


Id.   at   *3-4.


      After Barnes's         trial   concluded,            on October      7,   2003,    Barnes

moved for a new trial on the grounds that the prosecution failed

to disclose that a special prosecutor nolle prosequied two drug

charges against King after King had testified at Barnes's trial.

The   Circuit      Court    denied    the       motion,       but    requested        that    the

special prosecutor from the City of Chesapeake, Ms. Shelton, who

had   handled      King's    case,    appear         before       the   Circuit       Court    to

answer questions.1



       In Barnes's trial, Almetia Fields and Douglas Ottinger
represented the Commonwealth Attorney's Office for the City of
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        At the hearing on October 17,                      2003,      Mr.    Ottinger,       from the

Commonwealth Attorney's Office for the City of Portsmouth stated

that     his     "office        had     no    contact          with        Ms.     Shelton    in   the


decision-making          on     this        with    Mr.    King's          charges     whatsoever."

(Oct.    17,     2003    Mot.     Tr.       5.)      Ms.       Shelton       stated    that    King's

charges        were    nolle     prosequied           because         Barnes's        co-defendant,

Michael    Artis,        had    been    the        informant         on    which    King's    charges

were    based     and    Artis        had    proved       to    be    an    unreliable       witness.

Ms.    Shelton        stated,    "There       was     no       secret      deal    with   [King]    to

testify.        If    [King]    had testified or not,                     it would have made no

difference       [on] our decision."                 (Id. at 8-9.)               After hearing the

foregoing information,                the Circuit Court again denied the motion

for a new trial.2




Portsmouth.   The Commonwealth Attorney's Office for the City of
Portsmouth requested that an assistant commonwealth's attorney
from the City of Chesapeake handle any criminal charges against
King.   Ms. Fields explained that when her office has "a witness
in a case who may also have criminal responsibility we get a
special prosecutor."   (Oct. 7, 2003 Tr. 15.)

        2 The same Circuit Court judge who denied the motions for a
new trial had heard King's trial testimony.       At trial, King
testified that he did not have any doubt that Barnes was the
person who had shot him. (July 31, 2003 Tr. 117.)
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        A.         Direct Appeal

        On     September              28,    2005,        the        Supreme           Court     of     Virginia

refused Barnes's                petition          for appeal.               Barnes       v.    Commonwealth,

No. 051198          (Va. Sept.          28, 2005).

        B.         First State Habeas


         On September 27, 2006,                      Barnes filed a petition for a writ

of     habeas       corpus        in        the   Circuit           Court.             The     Circuit        Court

dismissed          the    petition           on   March        6,    2007.         Barnes        v.    Dir.     Va.

Dep't Corr.,             No.    CL06-2923          (Va. Cir.          Ct.    Mar.       6, 2007).            Barnes

appealed       that       decision           to    the    Supreme           Court       of     Virginia.         On

July     20,        2007,       because           Barnes        "failed           to     timely        file     the

petition for appeal,                   the    [Supreme Court of Virginia]                         dismisse[d]

the petition."                 Barnes v.          Johnson,          Dir.    Dep't Corr.,              No. 071300

(Va.    July 20,           2007)        (citing Va.            Sup.     Ct.       R.    5:17 (a) (1) ).3         On

September           21,        2007,        the    Supreme           Court        of      Virginia           denied

Barnes's petition for rehearing.                                Barnes v. Johnson,                    Dir.    Dep't

Corr.,       No.    071300       (Va. Sept.         21,       2007).

        C.         Second State Habeas               Petition


        On    December           9,    2010,       Barnes           filed     a   second        state        habeas

petition           with    the        Circuit       Court.             In     this       petition,           Barnes



        3 "In every case in which the appellate jurisdiction of this
Court is invoked, a petition for appeal must be filed with the
clerk of this Court ... in the case of an appeal direct from a
trial court, not more than three months after entry of the order
appealed from . . . ." Va. Sup. Ct. R. 5:17(a) (West 2007).
                                                          6
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alleged that the prosecution had violated his rights by failing

to    disclose     that         a   key witness,                Mark    King,       was      given    immunity

from prosecution in return for testimony against Barnes.                                                  Barnes

asserted        that   he    did     not      discover          the    basis      for    this     claim until


January 13,        2010.            The Circuit Court dismissed the petition on

February 17,           2011.         Barnes         v.    Watson,          Warden,      Va.      Dep't    Corr.,

No.   CL10-2756          (Va.       Cir.      Ct.    Feb.       17,     2011).         The      Circuit    Court

found,

            The petition was untimely filed.   Virginia Code
       8.01-654(A)(2) provides that a habeas petitioner must
       file his petition within two years from the date of
       final judgment in the state trial court or one year
       from the date of final disposition of the direct
       appeal in state court, whichever is later.    In this
       case, then, Barnes had until September 28, 2006, to
       file his habeas petition in state court,    but his
       present petition was filed nearly four years after
       that      date.


Id.    at   2     (internal          citations            omitted).               Barnes       appealed     that

decision.          On       July        28,    2011,           the    Supreme          Court     of   Virginia

refused      Barnes's           petition            for    appeal.            Barnes       v.    Watson,     Va.

Dep't of Corr., No. 110922 (Va. July 28, 2011).

       D.        Federal      Habeas          Petition


       On   August          14,     2011,       Barnes          filed       his    §    2254     Petition     in

this Court.            (§ 2254 Pet. 15. )4                      In the § 2254 Petition, Barnes

asserts         entitlement             to      relief           upon       the        following         ground:


       4 The Court deems the petition filed on the date Barnes
swears      he    placed          the      petition            in    the      prison      mailing        system.
Houston v.        Lack,      487 U.S.          266,       276       (1988).
                                                           7
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"Failure       of     the     Commonwealth               Attorney          to   disclose            its    key

witness       immunity        from        prosecution            in     return           for    favorable

testimony      violating           petitioner['s]           due       process        rights         as    made

applicable to the states by way of the Fourteenth Amendment.[5]"

(Br. Supp. § 2254 Pet.               4 (capitalization corrected).)


                                          II.    ANALYSIS


       A.     Statute of Limitations


       Respondent contends that the federal statute of limitations

bars     Barnes's         claim.          Section         101    of     the     Antiterrorism              and


Effective      Death       Penalty Act          ("AEDPA")         amended 28             U.S.C.      §    2244

to establish a one-year period of limitation for the filing of a

petition      for     a    writ     of    habeas         corpus       by    a   person         in    custody

pursuant      to     the    judgment       of    a       state    court.            Specifically,           28

U.S.C.      § 2244(d)       now reads:

       1.      A 1-year period of limitation shall apply to an
               application for a writ of habeas corpus by a
               person in custody pursuant to the judgment of a
               State court.   The limitation period shall run
               from the       latest      of—


               (A)        the date on which the judgment became
                          final  by   the  conclusion of  direct
                          review or the expiration of the time
                          for seeking such review;
               (B)        the date on which the impediment to
                          filing an application created by State
                          action    in    violation        of    the       Constitution



       5 "No State shall . . . deprive any person of life, liberty,
or   property,       without        due    process         of    law.       .   .   ."     U.S.       Const,
amend.      XIV,    § 1.
                                                     8
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                      or     laws     of      the       United         States        is
                      removed, if the applicant was prevented
                      from filing by such State action;

              (C)     the    date     on    which       the       constitutional
                      right asserted was initially recognized
                      by the Supreme Court, if the right has
                      been newly recognized by the Supreme
                      Court and made retroactively applicable
                      to cases on collateral review;                        or

              (D)     the date on which the factual predicate
                      of the claim or claims presented could
                      have   been   discovered   through  the
                      exercise of due diligence.

        2.    The    time  during   which   a   properly   filed
              application for State post-conviction or other
              collateral review with respect to the pertinent
              judgment or claim is pending shall not be counted
              toward   any  period  of  limitation   under  this
              subsection.


28 U.S.C.     § 2244(d).

        B.    Commencement of the Statute of Limitations Under 28
              U.S.C.       § 2244(d)(1)(A)

        Barnes's      judgment       became       final     on        Tuesday,      December       27,

2005,    when the time to file a petition for a writ of certiorari

expired.       Hill    v.    Braxton,       277     F.3d      701,      704      (4th    Cir.    2002)

("[T]he      one-year       limitation      period        begins        running         when    direct

review of the state conviction is completed or when the time for

seeking      direct    review       has    expired      .     .   .    ."    (citing      28    U.S.C.

§ 2244(d)(1)(A)));            see     Sup.        Ct.       R.        13(1)        (petition       for

certiorari      should       be     filed     within        ninety          days    of    entry     of

judgment by state court of last resort or of the order denying
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discretionary review).                 The    limitation ran for 273            days,     until

September      27,    2006,     when     Barnes      filed     his     First   State      Habeas

Petition.      See 28 U.S.C.           § 2244(d)(2).

        The limitation period remained tolled until March 6,                               2007,

when    the   Circuit     Court        dismissed       Barnes's       First    State      Habeas


Petition.        Although Barnes             pursued an appeal          of that decision,

that    appeal      did not     further toll          the   limitation period because

the appeal was not "properly filed."                          28 U.S.C. § 2244(d)(2);6

see Hines v.         Johnson,    No.    2:08cvl02,        2009 WL 210716,       at   *2    (E.D.

Va.    Jan.    28,    2009)     (precluding          tolling     the    time   between       the

state's denial of         a habeas petition and the ultimately untimely

petition      for    appeal     of   that     decision).         The    limitation        period

then ran for more than four additional years before Barnes filed

his § 2254 Petition.7            Therefore, unless Barnes demonstrates that




        6 To qualify for statutory tolling,                          an action must be a
(1) properly  filed   (2)  post-conviction   or  other  collateral
review of (3) the pertinent judgment.   28 U.S.C. § 2244(d)(2).

        [A]n application is ^properly filed' when its delivery
        and acceptance are in compliance with the applicable
        laws and rules governing filings.        These usually
        prescribe, for example, the form of the document, the
        time limits upon its delivery, the court and office in
        which it must be lodged, and the requisite filing fee.

Artuz    v.    Bennett,       531      U.S.     4,    8     (2000)     (internal      footnote
omitted)      (citing cases).

        7 Because the Virginia courts found that the state statute
of    limitations       barred       Barnes's        Second    State     Habeas      Petition,
                                                10
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either       a      belated         commencement             of    the      limitation          period    or

equitable           tolling        renders    his    petition            timely,     the     statute      of

limitation bars the § 2254 Petition.

       C.        Belated Commencement


       As pertinent here,                  the statute of limitations may commence

on   "the        date       on    which    the     factual         predicate        of    the    claim    or

claims presented could have been discovered through the exercise

of   due      diligence."             28    U.S.C.       §    2244(d)(1)(D).              This     belated

commencement provision protects petitioners when they could not

have brought their claims earlier.                                 "Under § 2244(d)(1)(D),                the

limitation period                  begins    to    run when the              petitioner          knows,    or

through          due        diligence        could       have        discovered,           the     factual

predicate           for     a potential          claim,       not    when      he   recognizes       their

legal       significance."                McKinney v.             Ray,   No.     3:07CV266,        2008    WL

652111,        at      *2    (E.D.    Va.     Mar.     11,         2008)     (citing      Schlueter        v.

Varner,       384      F.3d 69,      74     (3d Cir.         2004);      Owens v.        Boyd,    235 F.3d

356,    359      (7th Cir.         2000)).

        Barnes contends that,                    under § 2244(d) (1) (D) , the limitation

period should commence                     "when    Petitioner             received,      via     mail,    an

affidavit           dated        January    13,    2010       from       AMark   King'     that     he    was

given      immunity for             his    testimony against                Petitioner."           (§ 2224

Pet.    14.)        In that affidavit,             King swears,


that petition does not qualify for statutory tolling.                                             See Pace
v.   DiGuglielmo,            544 U.S.       408,   417       (2005).
                                                     11
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           On or about, April 4th 2002 I was shot in the head
    and my girlfriend Amy McRae was shot and killed.
    When I came out of the hospital I had no memory due to
    the head injury.    I was led to believe that Lamar
    Barnes shot me and Amy, so I was taken to the homicide
    department and shown a page of pictures of about 6
    guys and Lamar[']s picture was on it.     I picked him
    and said he shot me, and at the time I really believed
    he did.  I believed it for a long time until I started
    remembering stuff then I had doughts [sic] .    I told
    Detective Lodge I thought we had the wrong person and
    he got mad.   He told Almesha [sic] Fields and she got
    mad at me.   She was the Commonwealth Attorney.   They
    decided to charge me and prosecute me for the drugs
    they found in my house at least that [is] what they
    said, they did it to use against me to force me to
    keep after Lamar Barnes.    But to be honest I still
    wasn[']t  100%  sure that  Lamar was              inocent  [sic]
    because my memory was still not back.              So when they
    charged me they told me if I kept testifying against
    Lamar theyed [sic] make the charges go away.   Which
    they did after Lamar was convicted. But my memory of
    that day did come back in time and I'm 100% positive
    that not only did Lamar Barnes not shoot us, he was
    never at our home that day.    I was shot by Bobby Petty
    and so was Amy McRae.    I never had any intent to lock
    up a[n]   inocent  [sic] man.     And for years now I
    written [sic] people to help Lamar Barnes.        I[']ve
    met with the ATF taken lie detectors and begged them
    to help Lamar.    When all this happened I was injured
    and hurt over the loss of Amy but everyone even her
    family got mad and turned on me when I said I thought
    Lamar was inocent [sic] .    But when all of my memory
    came back it was to [sic] late Lamar was already
    convicted and all I can do is keep trying to help him
    and ask people to help him.  I'm sorry its [sic] taken
    so long but I in federal prison and I've been trying.
    Portsmouth    Commonwealth     Attn   [sic]     Office    knew      and
    used    threats   to   scare   all    of   us   just     to   get     a
    conviction of an inocent  [sic] man.   Lamar Barnes
    needs to be freed and Bobby Petty need[s] to go to
    prison!




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(Br.    Supp. § 2254 Pet. Ex. A                     (capitalization corrected.)                 Given

Barnes's         previous          motions        for      a     new     trial     raising       this

allegation,         the     Court      doubts       whether       Barnes's       receipt   of     the

Mark King affidavit entitles Barnes to a belated commencement of

the    limitation          period.          See     Escamilla       v.    Jungwirth,     426     F.3d

868,     871     (7th       Cir.       2005)      ("Section         2244(d)(1)(D)        does     not

restart     the     time        when   corroborating            evidence    becomes      available

. . . .        As     a   matter       of    law,    new       evidence    supporting      a    claim

actually made at or before trial cannot form the basis of a new

period under § 2244(d)(1)(D).");8 see also Deloney v. McCann, 229

F. App'x       419,       422    (7th Cir.        2007)     ("The      statute     of limitations

began    running          when     [the     petitioner]         became     aware    of   the    facts

giving rise to            his    claim,      not when he          obtained the evidence to

support it.").             Nevertheless,            it    is unnecessary to          resolve this

issue.


        Even     assuming          King's         assertion        (that     Ms.     Fields      used

criminal charges brought against King as leverage to compel King

to testify against Barnes)                     constitutes a new             factual predicate



        8 In a letter dated August 11, 2003, Barnes complained to
the Circuit Court that, "the victim Mark King was forced to
testify against me because of his drug charges that he had
pending.    Mark King and Micheal Artis was forced or even
cohersed  [sic] to testify and lie on me to better there [sic]
self for a plea bargain for pending charges." Commonwealth v.
Barnes, No. CR02-2944, Cir. Ct. R. 137 (Va. Cir. Ct. filed Aug.
15,    2003) .

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under        § 2244(d)(1)(D),               the         statute          of     limitation          still        bars

Barnes's § 2254             Petition.              In his          Second State Habeas                 Petition,

Barnes        acknowledged             that       he     knew       of     the        substance       of    King's

affidavit,           at    least       by     the       time       King        executed       the    affidavit.

Specifically,               Barnes          swore          that           "the         factual         predicate

supporting his claims was discovered through the exercise of due

diligence on January 13,                       2010 See Exhibit A."                      Brief in Support

of Petition for Writ of Habeas of Corpus,                                        Preliminary Statement,

Barnes       v.     Watson,      No.    CLlO-10-2756-00                   R.    14    (Va.    Cir.    Ct.    filed

Dec.     9,       2010)         (internal         quotation               mark omitted).9                  Barnes,

however,          did     not    file       his     §    2254       Petition          within     one       year    of

January 13,             2010.     Rather,          577    days elapsed between January 13,

2010 and Barnes's filing of his § 2254 Petition in this Court on

August        14,    2011.         Accordingly,                a    belated           commencement          of    the

limitation period does not render the § 2254 Petition timely.

        D.        Equitable Tolling

        Equitable          tolling          may     apply          to     petitions       under       28    U.S.C.

§ 2254.           See Holland v.              Florida,             130    S.    Ct.    2549,    2560       (2010).

Nevertheless,              the     Supreme              Court            has     "made        clear        that     a

'petitioner' is 'entitled to equitable tolling'                                           only if he shows

*(1)     that        he    has     been        pursuing             his        rights        diligently,          and

(2) that          some    extraordinary circumstance                            stood in his           way'       and



        9 Exhibit A is King's Affidavit.
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prevented timely filing."                         Id.    at 2562           (quoting Pace,                  544 U.S.

at 418).        An inmate asserting equitable tolling "'bears a strong

burden     to     show      specific              facts'"           which       demonstrate                that      he

fulfills both elements of the test.                                 Yang v. Archuleta,                     525 F.3d

925,    928     (10th     Cir.         2008)       (quoting          Brown          v.    Barrow,          512    F.3d

1304,    1307 (11th Cir.               2008)).

        Barnes    does       not        argue        entitlement               to        equitable         tolling.

Moreover,       the       record        does       not       suggest           that           an    extraordinary

circumstance         prevented              Barnes      from        filing          his       §    2254     Petition

within one        year      of    the       discovery of the                   substance of the                   King

Affidavit.           If    Barnes           had    any       uncertainty                 as    to       whether    his

Second State Habeas Petition would qualify for statutory tolling

under     §     2244(d)(2),             he        should       have         filed             "a        'protective'

petition" with this Court and asked the Court "to stay and abey

the     federal       habeas           proceedings             until           state          remedies           [were]

exhausted."           Pace,           544    U.S.       at    416        (citing          Rhines          v.   Weber,

544 U.S.      269,    278    (2005)).

        Additionally,             the        record          does        not     justify                tolling     the

limitation        period          on        the      ground          that           Barnes          is      actually

innocent.            Even        if     actual          innocence              provided             a     basis     for

equitable tolling,10 Barnes has not submitted evidence of the



        10 See O'Neill v. Dir., Va. Dep't Corr., No. 3:10CV157, 2011
WL     3489624,      at    *6     (E.D.        Va.      Aug.        9,    2011)           (citing         cases     and
                                                        15
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requisite quality to support such a claim.                                  See Hill v. Johnson,

No.   3:09cv659,          2010 WL 5476755,              at     *5   (E.D.      Va.    Dec.        30,    2010)

(citing     Weeks         v.     Bowersox,       119     F.3d       1342,       1352-53          (8th     Cir.

1997);     Feaster         v.    Beshears,        56     F.    Supp.      2d    600,        610     (D.    Md.

1999)).         A    claim       of     actual     innocence          requires         "new        reliable

evidence—whether                 it     be    exculpatory                 scientific              evidence,

trustworthy         eyewitness          accounts,        or     critical        physical           evidence

[that      supports             the     claim       of         innocence]."                     Schlup      v.

Delo,    513 U.S.         298,    324   (1995).

        Given       the    timing       of King's             affidavit11       and King's               prior

statements implicating Barnes in the murder of McCrae,                                            the Court

concludes       that       King's       affidavit        is     not    "trustworthy"              and     does

not     constitute         "reliable"        evidence          of     innocence        sufficient           to


support a claim of actual                    innocence.             Schlup,      513 U.S.           at    324;

United     States         v.     Lighty,     616       F.3d     321,      375        (4th       Cir.     2010)

("Post-trial recantations of                     testimony are looked upon with the

utmost     suspicion.")               (internal     quotation          marks         omitted),           cert.



indicating that actual innocence                          does      not     provide         a    basis     for
tolling the limitation period).

        11 King waited many years after Barnes's trial and until
after King himself was incarcerated to produce the affidavit.
See House v. Bell, 547 U.S. 518, 537 (2006) (observing that in
assessing a claim of actual innocence the Court "may consider
how the timing of the submission and the likely credibility of
the  affiants  bear   on  the  probable  reliability  of  that
evidence")(internal quotation marks omitted).

                                                   16
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denied,        132 S.         Ct.    451          (2011).12      To accept such commonplace

recantations             by    convicted            criminals         would       ignore      the    Supreme

Court's        admonition           that          the   quality       of    evidence          necessary         to

support a claim of actual innocence "is obviously unavailable in

the     vast       majority         of       cases."          Schlup,      513     U.S.       at    324;       see

Calderon v. Thompson,                    523 U.S. 538, 559              (1998)       (emphasizing that

new     reliable         evidence            of    innocence      is       a   "rarity");           see       also

Carter        v.   Virginia,          No.         3:09CV121-HEH,           2010    WL     331758,         at    *8

(E.D.        Va.   Jan.       26,    2010) ("'It          is    not     unusual         for    one       of    two

convicted          accomplices               to     assume      the     entire       fault         and        thus

exculpate his codefendant by the filing of a recanting affidavit

or other statement.'"                        (quoting Drew v.              State,       743    S.W.2d 207,

228    (Tex. Crim.            App.       1987))).         Accordingly,            Respondent's Motion

to Dismiss will be                  granted.            The § 2254 Petition will be denied

and the action will be dismissed.


        An appeal may not be taken from the final order in a § 2254

proceeding unless a judge issues a certificate of appealability

("COA") .           28    U.S.C.         §    2253(c)(1)(A).               A   COA      will       not     issue

unless a prisoner makes "a substantial showing of the denial of


        12
          At trial, the prosecution introduced substantial evidence
that    Barnes's family members had threatened and pressured Artis
to change his testimony and allege that         Bobby Petty had
committed the crimes instead of Barnes.     (See, e.g., Aug. 1,
2003 Tr. 124.)    Additionally, Bobby Petty did not match the
physical description of the individuals the handyman saw fleeing
from King's residence.
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a     constitutional              right."         28       U.S.C.        § 2253(c)(2).             This

requirement           is     satisfied      only       when     "reasonable         jurists       could

debate       whether       (or,    for    that     matter,       agree     that)     the    petition

should       have     been     resolved      in    a       different      manner     or     that    the


issues        presented        were      'adequate         to   deserve        encouragement         to

proceed further.'"                 Slack v. McDaniel,            529 U.S.       473,      484    (2000)

(quoting Barefoot v. Estelle,                     463 U.S.      880,      893 n.4    (1983)).        No

law     or        evidence    suggests      that       Barnes       is    entitled     to       further

consideration           in this matter.                A    certificate        of appealability

will therefore be denied.


        The Clerk of the Court is directed to send a copy of this

Memorandum Opinion to Barnes and counsel for Respondent.

        An appropriate Order shall issue.

                                                                         /s/       UP
                                                 Robert E. Payne
                                                 Senior United States District Judge

Richmond, Virginia
Date:        p.
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